Case 4:24-cv-00953-P   Document 35   Filed 01/01/25   Page 1 of 25   PageID 304



                       UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF TEXAS
                           FORT WORTH DIVISION

OUTSOURCING FACILITIES
ASSOCIATION and NORTH AMERICAN
CUSTOM LABORATORIES, LLC d/b/a
FARMAKEIO CUSTOM COMPOUNDING,

                  Plaintiffs,

v.
                                        CASE NO. 4:24-cv-953-P
UNITED STATES FOOD AND DRUG
ADMINISTRATION and DR. ROBERT M.
CALIFF,

                  Defendants.



                      ELI LILLY AND COMPANY’S BRIEF
                 IN SUPPORT OF ITS MOTION TO INTERVENE
Case 4:24-cv-00953-P                  Document 35                 Filed 01/01/25                Page 2 of 25               PageID 305



                                                 TABLE OF CONTENTS

I.     Introduction ......................................................................................................................... 1

II.    Background ......................................................................................................................... 3

       A.         Lilly engages in extensive research and development to create important
                  medicines, which it then manufactures under strict controls. ................................. 3

       B.         Lilly manufactures Mounjaro® and Zepbound®—the only FDA-approved
                  tirzepatide medicines. ............................................................................................. 5

       C.         Compounders prepare untested and potentially dangerous copies of FDA-
                  approved medicine, exposing patients to serious risks. .......................................... 6

       D.         Lilly invested substantial funds and resources to resolve the tirzepatide
                  shortage, but this action seeks to declare the shortage ongoing. .......................... 10

       E.         FDA affirms its shortage determination, stating that it will take action
                  against compounders beginning in February 2025. .............................................. 11

III.   Argument .......................................................................................................................... 13

       A.         Lilly has the right to intervene under Rule 24(a). ................................................. 13

                  1.         Lilly’s motion is timely. ............................................................................ 13

                  2.         Lilly has a legally protected interest. ........................................................ 14

                  3.         This action may impair or hinder Lilly’s ability to protect its
                             interests. .................................................................................................... 16

                  4.         No party adequately represents Lilly’s interests. ...................................... 17

       B.         Alternatively, the Court should permit Lilly to intervene under Rule 24(b). ....... 19

IV.    Conclusion. ....................................................................................................................... 20




                                                                    i
Case 4:24-cv-00953-P                   Document 35              Filed 01/01/25              Page 3 of 25            PageID 306



                                              TABLE OF AUTHORITIES

Cases

Alamo Brewing Co. v. Old 300 Brewing, LLC,
  2014 WL 12876370 (W.D. Tex. May 21, 2014) ....................................................................... 15
Alliance for Hippocratic Med. v. FDA,
  2024 WL 1260639 (N.D. Tex. Jan. 12, 2024) ........................................................................... 18
Ass’n of Pro. Flight Attendants v. Gibbs,
  804 F.2d 318 (5th Cir. 1986) ..................................................................................................... 14
Cayuga Nation v. Zinke,
 324 F.R.D 277 (D.D.C. 2018) ................................................................................................... 16
CitiFinancial Corp. v. Harrison,
  453 F.3d 245 (5th Cir. 2006) ..................................................................................................... 11
City of Houston v. Am. Traffic Solutions, Inc.,
  668 F.3d 291 (5th Cir. 2012) ............................................................................................... 15, 17
Edwards v. City of Houston,
  78 F.3d 983 (5th Cir. 1996) ........................................................................................... 13, 14, 17
Franciscan Alliance Inc. v. Azar,
  414 F. Supp. 3d 928 (N.D. Tex. 2019) ...................................................................................... 19
Lucid Grp. USA Inc. v. Johnson,
  2023 WL 4539846 (W.D. Tex. Mar. 20, 2023)......................................................................... 16
Mire v. Full Spectrum Lending Inc.,
 389 F.3d 163 (5th Cir. 2004) ..................................................................................................... 11
Mova Pharma. Corp. v. Shalala,
 140 F.3d 1060 (D.C. Cir. 1998) ................................................................................................ 15
Mylan Pharms. Inc. v. FDA,
 789 F. Supp. 2d 1 (D.D.C. 2011) .............................................................................................. 15
NextEra Energy Cap. Hldgs., Inc. v. D’Andrea,
  2022 WL 17492273 (5th Cir. Dec. 7, 2022) ....................................................................... 15, 17
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  2008 WL 2037302 (E.D. Tex. May 8, 2008) ............................................................................ 14
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  240 F.R.D. 257 (E.D. Tex. 2006) .............................................................................................. 19
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  275 F. 3d 432 (5th Cir. 2001) .................................................................................................... 17




                                                                  ii
Case 4:24-cv-00953-P                     Document 35                Filed 01/01/25               Page 4 of 25              PageID 307



Texas v. United States,
  805 F.3d 653 (5th Cir. 2015) ................................................................................... 13, 15, 17, 18
Statutes

21 U.S.C. § 353a ....................................................................................................................... 7, 18
21 U.S.C. § 353b ....................................................................................................................... 7, 18
21 U.S.C. § 355 ......................................................................................................................... 5, 15
21 U.S.C. § 356c ............................................................................................................... 12, 16, 20
21 U.S.C. § 356e ........................................................................................................................... 16
Rules

FED. R. CIV. P. 24 ...................................................................................................................... 3, 19
Regulations

21 C.F.R. § 314.108 .................................................................................................................. 5, 15
80 Fed. Reg. 38915 (July 8. 2015) ................................................................................................ 12




                                                                      iii
Case 4:24-cv-00953-P            Document 35          Filed 01/01/25         Page 5 of 25        PageID 308



I.       INTRODUCTION

         Mounjaro® and Zepbound® are groundbreaking medicines that treat patients with type 2

diabetes and those with obesity or overweight with weight-related conditions. Eli Lilly and

Company (“Lilly”) conducted more than thirty-seven pre-clinical and clinical trials and invested

billions of dollars before the U.S. Food and Drug Administration (“FDA”) approved these

medicines as safe and effective for the American public. Mounjaro® and Zepbound® meet critical

patient needs and, as a result, both medicines faced unprecedented demand that exceeded supply

for periods of time. When FDA placed both medicines on the agency’s “drug shortage” list, a cast

of so-called “compounders” and telehealth start-ups began mass-manufacturing and mass-

marketing their own untested, unapproved knock-off versions of Lilly’s medicines. FDA has

cautioned that such knock-off, non-FDA-approved compounded drugs are “risky for patients”

because they “do not undergo FDA’s review for safety, effectiveness and quality before they are

marketed.” 1 The American Diabetes Association likewise “recommends against using” these

knock-offs “due to uncertainty about their content, safety, quality, and effectiveness.” 2

         Compounders cite FDA’s shortage designation as the sole basis for their risky practices.

Fortunately, the shortage is over. As a result of Lilly’s historic $23 billion manufacturing

investment, all doses of Mounjaro® and Zepbound® have been available since August 2024, and

FDA formally determined the shortage of both medicines was resolved in October 2024. After

compounders filed this lawsuit, FDA then voluntarily and carefully reconsidered its decision,

including by receiving evidence from Plaintiffs and similar entities, and correctly reaffirmed the



1
     FDA’s Concerns with Unapproved GLP-1 Drugs Used for Weight Loss, https://www.fda.gov/drugs/postmarket-
     drug-safety-information-patients-and-providers/fdas-concerns-unapproved-glp-1-drugs-used-weight-loss.
2
     Press Release, The American Diabetes Association Announces Statement on Compounded Incretin Products, AM.
     DIABETES ASS’N (Dec. 2, 2024), https://diabetes.org/newsroom/press-releases/american-diabetes-association-
     announces-statement-compounded-incretin#.

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Case 4:24-cv-00953-P         Document 35        Filed 01/01/25       Page 6 of 25      PageID 309



lack of a shortage on December 19, 2024. FDA reviewed “detailed information and data” from

Lilly and determined that “Lilly’s supply is currently meeting or exceeding demand for

[tirzepatide] drug products.” ECF No. 32-1, at 2-3. FDA also “considered potentially relevant

information . . . from patients, healthcare providers, and others, including compounders,” and

determined this unscientific and anecdotal evidence—unexplained and generalized reports of

patients “having trouble” obtaining Mounjaro® or Zepbound®, screenshots of a pharmacy’s order

on a particular day, and generic commentary about anti-obesity medicines not specific to Lilly’s

medicines—did “not undermine or outweigh the evidence demonstrating that Lilly’s supply is

currently meeting or exceeding demand.” Id. at 3.

       Against this backdrop, Lilly seeks to intervene as a defendant in this case to protect its

interests and help bring this suit to a swift end. Plaintiffs seek to reverse FDA’s determination

that Mounjaro® and Zepbound® are not in shortage, so Plaintiffs can claim entitlement to continue

to mass-selling and (illegally) mass-marketing unapproved (and, all too often, unsafe) copies of

Lilly’s medicines. The motive for their suit is transparent: in their words, FDA’s shortage

determination “will . . . cause [them] to fail to capitalize on their investment” and “destroy their

revenues,” Compl. ¶¶ 51-52—revenues to which they are not entitled under the law and that come

at the expense of the patients who take their unapproved knockoff products. To state the obvious,

Plaintiffs’ position not only poses significant patient safety risks and challenges the integrity of

FDA’s regulatory framework that ensures patients receive only safe and effective medicines, but

it also directly affects Lilly’s interests in preserving its exclusive right to sell its FDA-approved

medicines.

       Lilly satisfies each of Rule 24(a)(2)’s requirements for intervention. Lilly’s motion is

timely—before any responsive pleadings—and Lilly agrees to observe any schedule for pleadings




                                                 2
Case 4:24-cv-00953-P          Document 35         Filed 01/01/25        Page 7 of 25       PageID 310



and preliminary injunction briefing the Court enters. See FED. R. CIV. P. 24(a)(2). Lilly has a clear

and substantial interest “relating to the property or transaction that is the subject of the action,” id.,

since Plaintiffs ask the Court to undo FDA’s determination that the shortage is resolved. This

action threatens to “impair or impede [Lilly’s] . . . interest” in two ways: first, it challenges a

regulatory scheme and determination that directly govern Lilly and ensure (when enforced) that

patients receive medicines FDA has determined are safe and effective, and second, it impairs

Lilly’s statutory right to an exclusive market for FDA-approved medicines. Id. And while Lilly

has no doubt that FDA will defend its declaratory order, FDA has different interests than Lilly as

FDA is a government agency tasked with administering the policy goals and objectives of the

federal government, creating a reasonable possibility that FDA will not “adequately represent

[Lilly’s] interest[s].” Id.

        Finally, in the alternative, Lilly satisfies Rule 24(b)’s criteria for permissive intervention:

This motion is timely; Lilly will defend common questions of law and fact with the main action

(that FDA’s determination that the shortage is resolved was legally and factually sound); and

Lilly’s participation will not delay the resolution of the action.

II.     BACKGROUND

        A.      Lilly engages in extensive research and development to create important
                medicines, which it then manufactures under strict controls.

        Lilly is a medicine company. Throughout its nearly 150-year existence, Lilly has pioneered

countless life-changing discoveries. Lilly has developed over 100 medicines across some of the

most challenging diseases, has 50 new medicine candidates currently in clinical development or

under regulatory review, and launched 23 medicines in the last decade, including path-breaking

therapies for diabetes, obesity, and Alzheimer’s disease. Creating life-saving and life-changing

medicines requires tremendous investments of time, talent, and money, and those costs have only



                                                    3
Case 4:24-cv-00953-P             Document 35          Filed 01/01/25          Page 8 of 25         PageID 311



grown over time. Today, bringing a new medicine all the way from inception to development

through the rigorous FDA approval process costs many billions of dollars. Every year, Lilly re-

invests 25% of its revenue into research and development of future medical breakthroughs,

including more than $9.3 billion in 2023 alone. These costs are the result of a simple reality:

Medicines that secure FDA approval represent only a fraction of a fraction of the therapies

developed and put into preclinical testing. Across the board, a mere 0.02% of potential treatments

that go into preclinical testing end up receiving FDA approval for therapeutic use—and only one

in three of that tiny subset will ever recoup its development costs. 3

        For those medicines that FDA approves, Lilly then utilizes strict controls for manufacturing

its medicines in state-of-the-art facilities, which employ thousands of highly specialized personnel

to ensure that its medicines meet its rigorous quality and safety standards. Transforming active

pharmaceutical ingredients, or API, into medicine is a complex, methodical, and science-based

process.    Lilly follows current Good Manufacturing Practices (“cGMP”) across the design,

monitoring, and control of its manufacturing processes and facilities—from establishing robust

quality management systems to obtaining quality raw materials and detecting and investigating

product quality deviations.         Each step—from synthesizing the API to formulation, device

assembly, and packaging of the final product—requires extensive testing and controls and

specialized equipment.




3
    See Sandra Kraljevic et. al., Accelerating Drug Discovery, 5 Eur. Molecular Biology Org. Reps., no. 9, 2004, at
    837, https://tinyurl.com/525p87tp; John A. Vernon & Joseph H. Golec, Pharmaceutical Price Regulation: Public
    Perceptions, Economic Realities, and Empirical Evidence 7 (2008), https://tinyurl.com/2k3hfyw5; U.S. Food &
    Drug Admin., The FDA’s Drug Review Process: Ensuring Drugs Are Safe and Effective (Nov. 24, 2017),
    https://tinyurl.com/32xnaus2.



                                                        4
Case 4:24-cv-00953-P              Document 35            Filed 01/01/25      Page 9 of 25     PageID 312



        B.        Lilly manufactures Mounjaro® and Zepbound®—the only FDA-approved
                  tirzepatide medicines.

        Mounjaro® and Zepbound® contain a complex molecule called tirzepatide, which targets

hormone receptors (called GIP and GLP-1). FDA approved Mounjaro® and Zepbound® in 2022

and 2023, respectively, pursuant to Lilly’s marketing application, itself the culmination of a

lengthy clinical trial process designed to develop, study, and bring safe medicines to patients so

that—in FDA’s words—“American consumers benefit from having access to the safest and most

advanced pharmaceutical system in the world.” 4 Mounjaro® is approved to improve glycemic

control in adults with type 2 diabetes mellitus. Zepbound® is approved to help the millions of

American adults with obesity or who are overweight and have weight-related medical problems.

In December 2024, FDA also approved Zepbound® for the treatment of moderate to severe

obstructive sleep apnea in adults with obesity. This additional indication was the product of years

of additional clinical trials that Lilly conducted.

        Mounjaro® and Zepbound® remain protected by statutory exclusivity.                          Because

Mounjaro® was a “new chemical entity” when it received FDA approval, FDA is prohibited by

law from even accepting any New Drug Application (“NDA”) or abbreviated new drug application

(“ANDA”) for any tirzepatide product from any company other than Lilly for years to come. See

21 U.S.C. § 355(c)(3)(E)(ii), (j)(5)(F)(ii); 21 C.F.R. § 314.108(b)(2), (b)(3). And, of course, no

person is permitted to introduce any new drug into interstate commerce without an approved

application. See 21 U.S.C. § 355(a). Those prohibitions reflect Congress’s decision that patients

should receive medicine only from a manufacturer that proved to FDA that its medicine is safe

and effective, and Congress’s judgment that the manufacturers of innovative medicines are entitled



4
    Development     &    Approval    Process    |   Drugs,       U.S. FOOD & DRUG ADMIN.    (Aug.   8, 2022)
    https://www.fda.gov/drugs/development-approval-process-drugs.



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Case 4:24-cv-00953-P         Document 35         Filed 01/01/25        Page 10 of 25       PageID 313



to a reward of market exclusivity, irrespective of patent or other considerations, for their often-

herculean efforts bringing new, life-changing medicines to market.

          Both Mounjaro® and Zepbound® have been commercially available in the United States

since their commercial launches in 2022 and 2023. Lilly has experienced significant demand for

both medicines, reflecting their value to patients and their importance to healthcare providers. As

a result of increasing demand, FDA placed Mounjaro®, and later Zepbound®, on the statutory

drug shortage list in December 2022 and April 2024, respectively.

          C.    Compounders prepare untested and potentially dangerous copies of FDA-
                approved medicine, exposing patients to serious risks.

          While Mounjaro® and Zepbound® have been on the drug shortage list, untested—and

potentially unsafe—“compounded” versions of tirzepatide have proliferated. Compounding is a

“practice in which a licensed pharmacist, a licensed physician, or, in the case of an outsourcing

facility, a person under the supervision of a licensed pharmacist, combines, mixes or alters

ingredients of a drug to create a medication tailored to the needs of an individual patient.”5

Importantly, “[c]ompounded drugs are not FDA-approved,” 6 meaning that FDA does not review

compounded drugs to evaluate their safety, effectiveness, or quality before they reach patients.

Compounding pharmacies—in stark contrast to commercial manufacturers of FDA-approved

medicines—are not subject to labeling requirements, need not comply with cGMP regulations,

need not subject their facilities to inspections by regulatory authorities, and have no reporting

requirements for adverse events. FDA has warned that “[c]ompounded drugs . . . do not have the

same safety, quality, and effectiveness assurances as approved drugs.             Unnecessary use of


5
    Human Drug Compounding, U.S. FOOD & DRUG. ADMIN. (Dec. 18, 2024), https://www.fda.gov/drugs/guidance-
    compliance-regulatory-information/human-drug-compounding.
6
    Id.




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Case 4:24-cv-00953-P            Document 35           Filed 01/01/25         Page 11 of 25         PageID 314



compounded drugs . . . exposes patients to potentially serious health risks.” 7 And Congress has

limited legally permissible compounding activities to a very narrow set of circumstances outlined

in Sections 503A and 503B of the Food, Drug and Cosmetic Act. See 21 U.S.C. §§ 353a, 353b.

         The risks compounded products pose are not hypothetical. In 2012, the New England

Compounding Center shipped compounded products contaminated with a fungus throughout the

country for injection into nearly 14,000 patients’ spines and joints. More than 100 people died of

fungal meningitis. Afterwards, FDA commented:

         The 2012 fungal meningitis outbreak was not an isolated event. It was the most
         serious in a long history of serious adverse events associated with contaminated,
         super-potent, mislabeled, or otherwise poor quality compounded drugs. In addition,
         many serious adverse events linked to poor quality compounded drugs, including
         outbreaks of infections and deaths have occurred since then. And, because most
         compounders do not report adverse events to FDA, the agency may not be aware
         of adverse events associated with compounded drugs unless a health care provider
         submits an adverse event report regarding his or her patients or a state official
         notifies FDA. 8

Company executives were convicted and received sentences of up to 14 years in prison. 9 In 2021,

a different compounding pharmacist pled guilty to providing adulterated compounded drugs to

cataract surgery patients that contained “an excessive amount of an inactive ingredient” that can

damage sensitive eye tissue. 10 At least 68 patients were injected with the adulterated compounds,


7
     Compounding and the FDA: Questions and Answers, U.S. FOOD & DRUG. ADMIN. (June 29, 2022),
     https://web.archive.org/web/20240803214713/https://www.fda.gov/drugs/human-drug-
     compounding/compounding-and-fda-questions-and-answers.
8
     FDA HUMAN DRUG COMPOUNDING PROGRESS REPORT: THREE YEARS AFTER ENACTMENT OF THE DRUG
     QUALITY AND SECURITY ACT 5 (2017), https://www.fda.gov/media/102493/download.
9
     Press Release, Former Owner of Defunct New England Compounding Center Resentenced to 14 Years in Prison
     in Connection with 2012 Fungal Meningitis Outbreak, U.S. DEP’T OF JUSTICE (July 7, 2021),
     https://www.justice.gov/usao-ma/pr/former-owner-defunct-new-england-compounding-center-resentenced-14-
     years-prison.
10
     Press Release, Texas Pharmacist Pleads Guilty to Adulterating Drug Used in Cataract Surgeries, U.S. FOOD &
     DRUG. ADMIN. & U.S. DEP’T OF JUSTICE (Oct. 13, 2021), https://www.fda.gov/inspections-compliance-
     enforcement-and-criminal-investigations/press-releases/texas-pharmacist-pleads-guilty-adulterating-drug-used-
     cataract-surgeries.




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Case 4:24-cv-00953-P            Document 35          Filed 01/01/25         Page 12 of 25        PageID 315



at two different surgery centers, over a period of months, and patients suffered near-immediate

adverse events, including permanent blindness. 11

         These risks are present for compounded tirzepatide too. On November 1, 2024, FDA

issued a warning about drugs compounded by Fullerton Wellness LLC of California after a patient

noticed a black particulate in a vial of compounded semaglutide, and a joint FDA-California

investigation uncovered conditions at Fullerton that could cause its drugs, including tirzepatide, to

become contaminated. 12 Similarly, in March 2022, FDA inspected Plaintiff FarmaKeio and found

that it “routinely use[d] non-pharmaceutical grade components for compounding drug products”

and “[n]on-sterilized equipment . . . in sterile drug production,” 13 and issued a warning letter—

that appears to be unresolved—for “serious deficiencies in . . . practices for producing drug

products intended or expected to be sterile, which put patients at risk.” 14                  Critically—and

concerningly—tirzepatide is also a sterile injectable.

         Indeed, as tirzepatide compounding became more prevalent, government agencies began

to warn the public about the risks these products pose. In July 2024, FDA sent a letter to

compounding advocacy organizations warning that it had received “reports describing patients




11
     Charlotte Huffman & Mark Smith, Dozens say they lost eyesight after routine surgery using compounded
     pharmacy drugs, WFAA (Feb. 9, 2019), https://www.wfaa.com/article/news/do-not-publish-yet/287-5f002ed3-
     e110-4063-9959-a2e5f54b5097 (last updated Feb. 13, 2019).
12
     FDA warns patients and health care professionals not to use compounded drugs from Fullerton Wellness, U.S.
     FOOD & DRUG. ADMIN. (Nov. 1, 2024), https://www.fda.gov/drugs/drug-safety-and-availability/fda-warns-
     patients-and-health-care-professionals-not-use-compounded-drugs-fullerton-wellness.
13
     Form FDA 483 to N. Am. Custom Labs., LLC d/b/a FarmaKeio Superior Custom Compounding, 6 (Mar. 10,
     2022), https://www.fda.gov/media/160771/download.
14
     E.g., Warning Letter from Div. of Pharma. Quality Op. II to J. Graves, Vice President, N. Am. Custom Labs.,
     LLC d/b/a FarmaKeio Superior Custom Compounding (Nov. 18, 2022), https://www.fda.gov/inspections-
     compliance-enforcement-and-criminal-investigations/warning-letters/north-american-custom-laboratories-llc-
     dba-farmakeio-superior-custom-compounding-642792-11182022.




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Case 4:24-cv-00953-P             Document 35          Filed 01/01/25          Page 13 of 25         PageID 316



who experienced adverse events following the administration of compounded . . . tirzepatide.” 15

FDA reiterated that “compounded drug products, including compounded . . . tirzepatide products,

are not FDA-approved. They do not undergo premarket review by FDA for safety, effectiveness,

or quality.” 16 FDA later advised the public of “multiple reports of adverse events, some requiring

hospitalization, that may be related to dosing errors” associated with compounded GLP-1 drugs. 17

Poison control centers across the United States have also reported a troubling trend, seeing “a

nearly 1,500% increase in calls since 2019 related to overdose or side effects of injectable weight-

loss drugs.” 18

           Leading organizations have also expressed concern. Last month, the American Diabetes

Association “recommend[ed] against using non-Food & Drug Administration (FDA)-approved

compounded GLP-1 and dual GIP/GLP-1 RA products due to uncertainty about their content,

safety, quality, and effectiveness.” 19 The Obesity Society, Obesity Action Coalition, and Obesity

Medicine likewise issued a joint statement cautioning that “[u]nfortunately, many of the available

alternatives [to GLP-1 therapies], like compounded versions of semaglutide and tirzepatide, are

not what they are advertised to be.” 20 Foreign governments have taken action. The Government


15
     Letter from S. Glueck, Pharm.D., FDA to P. Dickison, PhD, RN, Nat’l Council of State Bds. of Nursing (July 16,
     2024),        https://www.pa.gov/content/dam/copapwp-pagov/en/dos/department-and-offices/bpoa/nursing/fda-
     safety-alert.pdf.
16
     Id.
17
     FDA’s Concerns with Unapproved GLP-1 Drugs Used for Weight Loss, U.S. FOOD & DRUG. ADMIN. (Dec. 18,
     2024,    https://www.fda.gov/drugs/postmarket-drug-safety-information-patients-and-providers/fdas-concerns-
     unapproved-glp-1-drugs-used-weight-loss.
18
     Glucagon-like Peptide-1 (GLP-1) Agonists, AM.’S POISON CTRS., https://poisoncenters.org/track/GLP-1.
19
     https://diabetes.org/newsroom/press-releases/american-diabetes-association-announces-statement-compounded-
     incretin#:~:text=The%20statement%20recommends%20against%20using,safety%2C%20quality%2C%20and%
     20effectiveness.
20
     Leading Obesity Expert Organizations Release Statement to Patients on Compounded GLP-1 Alternatives,
     OBESITY MED. ASS’N (Jan. 8, 2024), https://obesitymedicine.org/blog/leading-obesity-expert-organizations-
     release-statement-to-patients-on-glp-1-compounded-alternatives/.




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Case 4:24-cv-00953-P            Document 35          Filed 01/01/25         Page 14 of 25         PageID 317



of Australia banned the development and sale of compounded anti-obesity drugs because of

“increasing community concern” and “increasing reports of patients coming to harm from”

compounded drugs promoted to aid with weight loss. 21 And the South African Health Products

Regulatory Authority explained that these drugs “pose[] a public health and safety risk” due to

“the unknown nature and safety of ingredients used in compounding.” 22

         D.      Lilly invested substantial funds and resources to resolve the tirzepatide
                 shortage, but this action seeks to declare the shortage ongoing.

         Over the past four years, Lilly has made the most significant manufacturing investment in

its nearly 150-year history—committing more than $23 billion to build, expand, acquire, or obtain

internal and external manufacturing facilities in the United States and Europe. Lilly employs

thousands of manufacturing employees to run its manufacturing facilities 24 hours, 7 days per

week, to ensure it continues to maximize its production. Lilly also obtained supplemental FDA

approvals authorizing the sale of Mounjaro® and Zepbound® in single-use vials—both were

originally approved in auto-injector devices—providing additional supply capacity and access to

patients who need Lilly’s medicines. As a result of Lilly’s efforts, FDA updated its drug shortage

database in August 2024 to reflect that “[a]ll doses of Mounjaro and Zepbound [were] available.”23

Two months later, on October 2, 2024, FDA determined the tirzepatide shortage was resolved,




21
     Press Release, Protecting Australians from unsafe compounding of replica weight loss products, DEP’T OF
     HEALTH & AGED CARE (May 22, 2024), https://www.health.gov.au/ministers/the-hon-mark-butler-
     mp/media/protecting-australians-from-unsafe-compounding-of-replica-weight-loss-products.
22
     Press Release, SAHPRA’s Position On GLP1 And GIP-GLP1 Products That Are Compounded, Substandard And
     Falsified, S. AFRICAN HEALTH PRODS. REGULATORY AUTH. (Nov. 8, 2024), https://www.sahpra.org.za/news-
     and-updates/sahpras-position-on-glp1-and-gip-glp1-products-that-are-compounded-substandard-and-
     falsifiedas/.
23
     Ned Pagliarulo, Zepbound, Mounjaro back in supply as Lilly resolves shortage, BIOPHARMA DIVE (Aug. 5, 2024),
     https://www.biopharmadive.com/news/eli-lilly-tirzepatide-supply-fda-doses-shortage/723269/.




                                                       10
Case 4:24-cv-00953-P              Document 35            Filed 01/01/25           Page 15 of 25           PageID 318



explaining it “confirmed with [Lilly] that [its] stated product availability and manufacturing

capacity can meet the present and projected national demand.” 24

           Five days later, on October 7, 2024, Plaintiffs filed this suit challenging FDA’s decision.

The case was then stayed on FDA’s unopposed motion on October 11, 2024. See ECF Nos. 27-

28. As part of the stay, FDA asked for the Court to remand the matter to FDA so the agency could

“reevaluate the decision at issue in this case.” ECF No. 27, at 1. This stay remains in effect to

date. 25

           E.      FDA affirms its shortage determination, stating that it will take action against
                   compounders beginning in February 2025.

           On December 19, 2024, FDA issued a declaratory order with a supporting memorandum,

confirming based on a thorough analysis that Lilly’s tirzepatide medicines are not in shortage. See

ECF No. 32, at 1; ECF No. 32-1. In that order and memorandum, FDA considered “detailed

information” Lilly provided “regarding its production and inventory of [Mounjaro® and

Zepbound®] at various points in time, including stock reports that show quantities supplied and

demanded, and inventory held in stock, for all strengths of [Mounjaro® and Zepbound®];

cumulative quantities supplied to and demanded by its customers in the year 2024; projected

demand and supply in future months; and wholesaler inventory data, among other information.”

ECF No. 32-1, at 3.



24
     FDA clarifies policies for compounders as national GLP-1 supply begins to stabilize, U.S. FOOD & DRUG ADMIN.
     (Oct. 2, 2024), https://web.archive.org/web/20241003040400/https://www.fda.gov/drugs/drug-safety-and-
     availability/fda-clarifies-policies-compounders-national-glp-1-supply-begins-stabilize.
25
     In noting their opposition to Lilly’s intervention, Plaintiffs raised the fact that this case was administratively
     closed as a “procedural issue” to Lilly’s motion. However, “administratively closing a case is merely a case-
     management tool” that does not prevent individuals from seeking relief from the court. See CitiFinancial Corp.
     v. Harrison, 453 F.3d 245, 250-51 & n.12 (5th Cir. 2006) (holding that it is not a final, appealable order); Mire v.
     Full Spectrum Lending Inc., 389 F.3d 163, 167 (5th Cir. 2004) (“[Administrative closure] is the functional
     equivalent of a stay.”). Indeed, despite the case being administratively closed, the parties filed two joint reports,
     one of which included a motion to extend the stay, and the Court ruled on that motion. See ECF Nos. 30-32.
     Plaintiffs are thus mistaken that the Court cannot hear Lilly’s motion at this time.



                                                           11
Case 4:24-cv-00953-P          Document 35        Filed 01/01/25       Page 16 of 25       PageID 319



        On the flip side, FDA considered a range of purported evidence of shortage submitted by

Plaintiffs and related entities. For example, “FDA received reports that some patients and

pharmacists are not able to obtain the approved drugs,” id. at 2, mostly via so-called “surveys”

compounders conducted asking patients to report if they had “trouble”—whatever that could

mean—buying brand-name obesity medicine.                 Compounders also submitted misleading

“screenshots” from pharmacy order forms purporting to show low wholesaler inventory of

tirzepatide on isolated days. 26 But, these screenshots represented a cherry-picked, isolated view

that misses the larger supply picture; a wholesaler could have thousands of doses in stock in a

different distribution center or have thousands coming, and any intermittent disruption in supply

does not indicate a shortage. FDA considered this information and determined that these reports

had “important limitations” and did “not demonstrate that Lilly will be unable to meet projected

demand, especially when weighed against the Lilly-provided data.” Id. at 3. FDA correctly noted

that its shortage determinations are based on nationwide supply and demand, see 21 U.S.C.

§ 356c(h)(2)-(3); 80 Fed. Reg. 38915, 38921 (July 8. 2015), observing that it is not surprising “that

patients and prescribers may still see intermittent localized supply disruptions as the products move

through the supply chain from the manufacturer to wholesale distributors and pharmacies,” ECF

No. 32-1, at 2 n.5. FDA advised the Court of its declaratory order on the same day it was published.

        While the stay continues, the December 19, 2024, joint status report indicates that the

action will resume and proceed to preliminary injunction briefing. See ECF No. 32, at 2. Given

the serious implications this action may have on Lilly’s interests—including the timing of

preliminary injunction briefing—Lilly now moves to intervene.


26
     See Comment from The Alliance for Pharmacy Compounding to FDA Docket No. 2015-N-0030-0001 (Nov. 20,
     2024), https://www.regulations.gov/comment/FDA-2015-N-0030-12242; Comment from The Alliance for
     Pharmacy     Compounding      to    FDA    Docket  No.    2015-N-0030-0001    (Nov.   15,   2024),
     https://www.regulations.gov/comment/FDA-2015-N-0030-10384.



                                                   12
Case 4:24-cv-00953-P         Document 35         Filed 01/01/25        Page 17 of 25       PageID 320



III.    ARGUMENT

        Lilly has a right to intervene under Rule 24(a)(2). This motion is timely; Lilly has an

interest “relating to the property or transaction” at issue in the action; Lilly’s ability to protect its

interest would be impaired or impeded by the disposition of this action; and the existing parties do

not adequately represent Lilly’s interests.      Independently, the Court should permit Lilly to

intervene under Rule 24(b) so it can protect its valuable interests in its FDA-approved medicines.

        A.      Lilly has the right to intervene under Rule 24(a).

        A party has a right to intervene where: (1) “the application for intervention [is] timely”;

(2) the party has “an interest relating to the property or transaction which is the subject of the

action”; (3) the party is “so situated that the disposition of the action may, as a practical matter,

impair or impede his ability to protect that interest”; (4) the party’s “interest [is] inadequately

represented by the existing parties to the suit.” Texas v. United States, 805 F.3d 653, 657 (5th Cir.

2015). Lilly meets all four requirements.

                1.      Lilly’s motion is timely.

        Courts consider a variety of factors when assessing whether a motion to intervene is timely,

including “the length of time during which the would-be intervenor actually knew” of its interest

before intervening and the “extent of the prejudice . . . to the litigation” from any delay. See

Edwards v. City of Houston, 78 F.3d 983, 1000 (5th Cir. 1996). All these factors support Lilly’s

motion.

        First, Lilly moved quickly to intervene. This case was filed on October 7, 2024, but it was

stayed by unopposed motion just four days later. See ECF Nos. 27-28. During the stay, FDA

reevaluated its decision, and the case was dormant; there was no certainty that the case would

proceed at all. E.g., ECF No. 30 (Nov. 21, 2024 Joint Status Report 1-2). FDA reaffirmed its

shortage determination by a declaratory order on December 19, 2024, see ECF No. 32-1, and, on


                                                    13
Case 4:24-cv-00953-P        Document 35        Filed 01/01/25       Page 18 of 25       PageID 321



the same day, the parties filed a joint status report indicating that Plaintiffs intend to file a

preliminary injunction motion. See ECF No. 32 (noting, inter alia, that the “parties will confer

regarding a preliminary injunction briefing schedule”). This report was the first indication that the

litigation would continue post-remand and implicate Lilly’s interests.

       Lilly moved quickly to intervene after the December 19, 2024, status report, filing this

motion within 13 days. Lilly’s motion thus comes much faster than in other cases where courts

found a motion to intervene to be timely. See, e.g., Sierra Club v. Espy, 18 F.3d 1202, 1205-07

(5th Cir. 1994) (motion found timely when made within two months of becoming aware that

interests were affected); Pam Int’l, Inc. v. Kam Coach, LLC, 2008 WL 2037302, at *2 (E.D. Tex.

May 8, 2008) (finding timely a motion filed within a month of being put on notice of

indemnification and two months after a defendant answered); Ass’n of Pro. Flight Attendants v.

Gibbs, 804 F.2d 318 (5th Cir. 1986) (five month lapse found not unreasonable). Indeed, “most of

[the Fifth Circuit’s] case law rejecting petitions for intervention as untimely concern motions filed

after judgment was entered in the litigation.” Edwards, 78 F.3d at 1001.

       Lilly’s intervention will not prejudice the other parties.          This “factor [concerns]

only . . . the prejudice caused by the applicants’ delay, not that prejudice which may result if

intervention is allowed.” Id. at 1002. Here, there has been no delay, given Lilly had no reason to

intervene while FDA was reconsidering its shortage decision and the case was stayed. Nor has

there been extensive completed motion practice or proceedings that would be undermined by

Lilly’s intervention. Once FDA issued its declaratory order and the case appeared likely to

proceed, Lilly moved quickly.

               2.      Lilly has a legally protected interest.

       Lilly has a protected interest as the exclusive manufacturer of FDA-approved tirzepatide.

Indeed, Lilly’s NDA for Mounjaro® and Zepbound® itself is a transferable asset and thus


                                                 14
Case 4:24-cv-00953-P         Document 35         Filed 01/01/25       Page 19 of 25       PageID 322



property—and a “property interest . . . almost always” satisfies the “protectable interest”

requirement of Rule 24(a)(2). Texas, 805 F.3d at 657-58. Moreover, courts routinely find that

“organizations that successfully petition for adoption of” a regulatory scheme and its “‘intended

beneficiar[ies]” “ha[ve] a legally protected interest in a case challenging that system.” NextEra

Energy Cap. Hldgs., Inc. v. D’Andrea, 2022 WL 17492273, at *3 (5th Cir. Dec. 7, 2022) (holding

that parties granted a contractual right by a statute have a right to intervene in an action challenging

the statute’s constitutionality); City of Houston v. Am. Traffic Solutions, Inc., 668 F.3d 291, 293-

94 (5th Cir. 2012) (holding that an organization that led the effort in passing “a city charter

amendment” had “a particular interest in cementing their electoral victory and defending the

charter amendment itself”).      Here, not only does Lilly have interests in its FDA-approved

medicines, but Congress has also granted it market exclusivity for tirzepatide drug products for its

innovative breakthrough. 21 U.S.C. § 355(c)(3)(E)(ii), (j)(5)(F)(ii); 21 C.F.R. § 314.108(b)(2).

Thus, Lilly has a “direct, substantial, legally protectable interest in the proceedings,” Texas, 805

F.3d at 657, including because it affects Lilly’s right to exclusivity. Alamo Brewing Co. v. Old

300 Brewing, LLC, 2014 WL 12876370, at *4 (W.D. Tex. May 21, 2014) (permitting intervention

by party holding the right to use and license a trademark in an action about the fair use of that

trademark); see also Mova Pharma. Corp. v. Shalala, 140 F.3d 1060, 1074 (D.C. Cir. 1998)

(“Upjohn was entitled to intervene as of right” as it “was in danger of losing market share to Mylan

if the district court denied the injunction and allowed Mylan’s product on the market.”); Mylan

Pharms. Inc. v. FDA, 789 F. Supp. 2d 1, 8 (D.D.C. 2011) (“[A]n ANDA applicant has a legally

protected interest in the FDA’s consideration of its own ANDA, and it might suffer harm as a

result of the FDA’s denial or neglect.”).




                                                  15
Case 4:24-cv-00953-P             Document 35           Filed 01/01/25           Page 20 of 25         PageID 323



         Further, Lilly has a protected interest in protecting the confidential information that it

submitted to FDA that will likely be part of the administrative record. Since the declaratory order

is based on Lilly’s “stock reports,” “inventory held in stock,” and projections, see ECF No. 32-1,

at 3, the administrative record and future briefing will likely involve these documents, threatening

their disclosure to compounders and the general public. Congress recognized that manufacturers

must share confidential information with FDA during shortage situations, and it specified that such

confidentiality must be maintained. See 21 U.S.C. §§ 356c(d), 356e(c)(2). Lilly has a right to

participate in this action to protect the confidentiality of that “detailed information and data.”

                  3.       This action may impair or hinder Lilly’s ability to protect its interests.

         Plaintiffs seek a declaration voiding the declaratory order and requiring FDA to place

tirzepatide on the drug shortage list, Compl. at 22, and Plaintiffs admit that they seek to continue

to sell unapproved copies of Lilly’s FDA-approved medicines if they prevail, see id. ¶ 52, all of

which would impair Lilly’s interests. In considering whether the impairment prong is met, courts

consider the “practical” effect of the litigation on the movant’s interest. E.g., Lucid Grp. USA Inc.

v. Johnson, 2023 WL 4539846, at *2 (W.D. Tex. Mar. 20, 2023) (holding that an association of

car dealers’ “interest in upholding Texas’s . . . car dealership statutes” could be impaired by a

manufacturer’s challenge to those statutes); Cayuga Nation v. Zinke, 324 F.R.D 277, 282 (D.D.C.

2018) (holding that an action impacting a tribe’s right to federal funds and affecting its governance

could impair interests of a tribe’s council).

         Beyond the billions it spent developing, testing, and bringing to market its revolutionary

medicines, Lilly has committed over $23 billion to increase its manufacturing capacity. 27 And,


27
     Press Release, Lilly Increases Manufacturing Investment to $9 Billion at Newest Indiana Site to Boost API
     Production for Tirzepatide and Pipeline Medicines, ELI LILLY & CO. (May 24, 2024),
     https://investor.lilly.com/news-releases/news-release-details/lilly-increases-manufacturing-investment-9-billion-
     newest.



                                                         16
Case 4:24-cv-00953-P         Document 35         Filed 01/01/25        Page 21 of 25       PageID 324



even though Lilly’s FDA-approved medicines are commercially available and Lilly’s supply meets

or exceeds demand, see ECF No. 32-1, at 1-2, Plaintiffs are nevertheless trying to justify

continuing to profit from Lilly’s investment by undercutting the safety and efficacy standards that

support Lilly’s FDA-approved medicines. If Plaintiffs continue compounding, more patients will

be exposed to untested, unapproved, and potentially unsafe knock-off tirzepatide drugs rather than

Lilly’s FDA-approved Mounjaro® and Zepbound®. Among other harms, patients may wrongly

attribute their injury from these products to Lilly, harming the goodwill Lilly developed for its

FDA-approved tirzepatide medicines. This case directly impairs Lilly’s interests, including in

circumventing Lilly’s statutory exclusivity and challenging FDA’s entire statutory and regulatory

framework to ensure patients receive only FDA-approved tirzepatide medicine from Lilly, rather

than unapproved and untested drugs from compounders. NextEra Energy, 2022 WL 17492273, at

*4 (litigation concerning a regulatory “scheme’s validity” impairs the interests of its intended

beneficiaries); City of Houston, 668 F.3d at 293-94 (litigation concerning the constitutionality of

a charter amendment impaired interests of groups that advocated for the amendment).

                4.      No party adequately represents Lilly’s interests.

        Lilly also meets Rule 24(a)(2)’s final requirement because FDA does not adequately

represent Lilly’s interests. A movant “need not show that the representation by existing parties

will be, for certain, inadequate.” Texas, 805 F.3d at 661. Instead, the Rule “is satisfied if the

applicant shows that the representation of his interest ‘may be’ inadequate.” Edwards, 78 F.3d at

1005; Supreme Beef Processors, Inc. v. U.S. Dept. of Agriculture, 275 F. 3d 432, 437-38 (5th Cir.

2001). Even where, as here, an intervenor shares the “same ultimate objective” as the government,

this element is satisfied if the intervenor’s “interests diverge from the [government’s] interests in

a manner germane to the case.” Texas, 805 F.3d at 661-62. In fact, “[i]t is . . . ‘axiomatic’ that the

interests of private [parties] ‘will diverge from those’ of . . . state actors.” Alliance for Hippocratic


                                                   17
Case 4:24-cv-00953-P        Document 35        Filed 01/01/25      Page 22 of 25       PageID 325



Med. v. FDA, 2024 WL 1260639, at *6 (N.D. Tex. Jan. 12, 2024). For example, the Fifth Circuit

in Texas found that interests of the federal government and potential recipients of a federal

immigration program diverged even though both sought to uphold the program, because the federal

government also sought to “secur[e] an expansive interpretation of executive authority, efficiently

enforc[e] the immigration laws, and maintain[] its working relationship with the States,” whereas

the recipients were concerned only with private benefits. Texas, 805 F.3d at 663.

       Lilly’s interests may not be fully represented by the government for three reasons. First,

as in Texas, FDA’s interests are different from Lilly’s. FDA is interested not only in defending its

declaratory order but also in defending its “executive authority,” id., “efficiently enforcing

the . . . law,” id., and “represent[ing] the broad public interest,” Alliance for Hippocratic, 2024

WL 1260639, at *5. The fact that FDA’s “broader interests ‘may diverge’ from [Lilly’s] ‘in the

future’” “‘is enough’ for the purposes of this factor.” Id. at *6 (holding that the court “need not

‘say for sure that the [government’s] more extensive interests will in fact result in inadequate

representation’”).

       Second, Lilly is concerned that FDA may not agree with it about the correct interpretation

of section 503A of the FDCA. Lilly believes that the plain text of section 503A does not allow

compounding pharmacies like FarmaKeio to manufacture copies of commercially available drug

products—and that conclusion does not turn in any way on whether tirzepatide is currently on the

shortage list. Specifically, compounding pharmacies under 503A are only permitted to make

“essentially a copy” of an FDA-approved medicine in certain limited circumstances. See 21 U.S.C.

§ 353a. That drug product appearing on FDA’s drug shortage list is not one of them. Unlike

Section 503B of the FDCA, Section 503A makes no mention of drug shortages. Compare 21

U.S.C. § 353b(a)(1)(2)(A)(ii), with 21 U.S.C. § 353a. Rather, it has a narrow exception to the




                                                18
Case 4:24-cv-00953-P        Document 35         Filed 01/01/25       Page 23 of 25      PageID 326



“essentially a copy” restriction when a medicine is not “commercially available.” 21 U.S.C.

§ 353a. Commercial availability is not the same as a drug shortage, as confirmed by legislative

history and statutory text. Plaintiffs have alleged that FDA disagrees and has chosen to allow

compounding pharmacies to mass-manufacture copies of commercially available drugs if they are

on the shortage list. E.g., Compl. ¶ 20. If Plaintiffs are correct, no party in this litigation

adequately represents Lilly’s interest in seeing the appropriate application of section 503A for

tirzepatide—a dispositive question for one of the plaintiffs here.

       Third, FDA may not adequately represent Lilly’s interests in the event of an appeal. While

Lilly believes FDA’s shortage decision is appropriate, in the event of an adverse decision, Lilly

has no way of knowing if FDA would appeal. The only way Lilly can ensure its rights are protected

in the event of appeal is by intervening in the lawsuit.

       B.      Alternatively, the Court should permit Lilly to intervene under Rule 24(b).

       Independently, the Court should allow Lilly to intervene under Rule 24(b). This Rule gives

the Court discretion to “permit anyone to intervene who,” on a timely application, shows that it

“has a claim or defense that shares with the main action a common question of law or fact” and

the intervention will not “unduly delay or prejudice the adjudication” of Plaintiffs’ rights. FED. R.

CIV. P. 24(b); Franciscan Alliance Inc. v. Azar, 414 F. Supp. 3d 928, 933 (N.D. Tex. 2019); Reid

v. Gen. Motors Corp., 240 F.R.D. 257, 260 (E.D. Tex. 2006). Lilly meets all requirements.

       First, for the reasons described above, see supra Part III.A.1, Lilly’s motion is timely. Lilly

moved quickly to join the lawsuit after FDA issued its declaratory order and the parties indicated

that the litigation may continue.

       Second, Lilly’s defense has common questions of law and fact with the main action. Lilly

will demonstrate that FDA’s decision was sound, thus rebutting Plaintiffs’ allegations. Among

other things, Lilly’s defense will show that Lilly’s supply of tirzepatide exceeds demand and that


                                                 19
Case 4:24-cv-00953-P        Document 35         Filed 01/01/25      Page 24 of 25       PageID 327



FDA’s declaratory order correctly determined that any localized or intermittent patient difficulty

in obtaining a specific dose of a specific medication at a specific pharmacy cannot establish a

shortage under 21 U.S.C. § 356c(h)(2). Moreover, Lilly may raise additional defenses that FDA

may not raise, such as unclean hands or lack of standing against FarmaKeio, as the latter’s

compounding of tirzepatide is unlawful regardless of whether tirzepatide were in shortage.

       Finally, intervention will not unduly delay or prejudice the adjudication of this action. The

case continues to be stayed and the Court has not yet entered a schedule for resolution of the matter

or plaintiffs’ likely forthcoming preliminary injunction motion. By intervening now, Lilly can

participate in discussions with the parties on a quick resolution to the matter.

IV.    CONCLUSION.

       For all of these reasons, the Court should allow Lilly to intervene in this case under either

Rule 24(a) or Rule 24(b).




                                                 20
Case 4:24-cv-00953-P      Document 35   Filed 01/01/25    Page 25 of 25     PageID 328



 Dated: January 1, 2025                  Respectfully submitted,

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                                         21
